               Case 2:20-cv-01682-KOB-JHE Document 1 Filed 10/26/20 Page 1 of 13                                                                        FILED
                                                                                                                                               2020 Oct-27 AM 10:01
                                                                                                                                               U.S. DISTRICT COURT
                                                                                                                                                   N.D. OF ALABAMA


 Pro Se 14 (Rev. 09/ l 6) Complaint for Violation of Civil Rights (Prisoner)



                                    UNITED STATES DISTRICT COURT                                                               ~  ,,~




                                   NORTHERN DISTRICT OF ALABAMA                                                             6 .. ' '"-          L
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                                                                                     )   .                            ZUZO OCT 2 b P 12: 21
                                       Plaintiff                                     )
(Write your full name. No more than one plaintiff may be named in                    )                              U.S . .. :~~- .. ::T CJUi1T
a complaint.)
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                                                                                             Case No.u:QD-~ - \.
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                                                                                                                                  J \ l\_.,
                                                                                     )              (to be filled in by the Clerk 's Office)
                                                                                     )
                                                                                     )
                                                                                     )
                                                                                     )
                                                                                     )
                                                                                     )
                                   Defendant(s)                                      )
                                                                                     )
(Write the full name of each defendant who is being sued. If the
names o/all of the defendants cannot fit in the space above, please
                                                                                     )
write "see attached" in the space and attach an additional page                      )
with the fit/I list of names. Do not include addresses here. Your                    )
complaint may be brought in this court only if one or more of the                    )
named defendants is located within this district.)


                                 COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
                                                                          (Prisoner Complaint)


                                                          NOTICE
Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
electronic court files . Under this rule, papers filed with the court should not contain: an individual 's full social
security number or full birth date; the full name of a person known to be a minor; or a complete financial
account number. A filing may include only: the last four digits of a social security number; the year of an
individual 's birth; a minor's initials; and the last four digits of a financial account number.

Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
other materials to the Clerk 's Office with this complaint.

In order for your complaint to be filed , it must be accompanied by the filing fee of $400.00 or an Application to
Proceed In Forma Pauperis.

Mail the original complaint and the filing fee of $400.00 or an Application to Proceed In Forma Pauperis to the
Clerk of the United States District Court for the Northern District of Alabama, Room 140, Hugo L. Black U.S .
Courthouse, 1729 5th Avenue North, Birmingham, Alabama 35203-2195.




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I.   The Parties to this Complaint

A.   The Plaintiff

     Provide the information below for the plaintiff named in the complaint.

       Name
       All other names by which
       you have been known:
       ID Number
       Current Institution
       Address
                                           L)e S~e:,tx'fcf               ~~~\- -               ~~01~
                                                         City               State              Zip Code

B.   The Defendant(s)

     Provide the information below for each defendant named in the complaint, whether the defendant is an
     individual, a government agency, an organization, or a corporation. Make sure that the defendant(s) listed
     below are identical to those contained in the above caption. For an individual defendant, include the
     person 's job or title (if known) and check whether you are bringing this complaint against them in their
     individual capacity or official capacity, or both. Attach additional pages if needed
     Defendant No. 1

       Name                               I~ .     fbttefS
       Job or Title (if known)
       Shield Number
       Employer
       Address

                                                         City               State              Zip Code

                                      '          Individual Capacity       Official Capacity
     Defendant No. 2

       Name
       Job or Title (if known)
       Shield Number
       Employer
       Address

                                                         City               State              Zip Code

                                     M           Individual Capacity   M   Official Capacity


                                                          2
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      Defendant No. 3

           Name
           Job or Title (if known)
           Shield Number
           Employer
           Address
                                                                                A\                ?2501. ~
                                                         City                    State              Zip Code

                                             M Individual Capacity              Official Capacity
      Defendant No. 4

           Name
           Job or Title (if known)
           Shield Number
           Employer                           -w~}(ft~a: he&\.+.~                        I   11           I   I   ~\
           Address                             \oo w'i\f~ac )A e
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                                                         City                    State              bp Code

                                             M Individual Capacity       -~     Official Capacity

II.   Basis for Jurisdiction

      Under 42 U.S.C. § 1983, you may sue state or local officials for the "deprivation of any rights,
      privileges, or immunities secured by the Constitution and [federal law J:' Under Bivens v. Six Unknown
      Named Agen.ts of Federal Buteau of Nano tics, 403 U.S. 388 (1971), you may sue federal officials for
      the violation of certain constitutional rights.
      A.     Are you bringing suit against (check all that apply);

             f1J   Federal officials (a Bivens claim)

             ~     State or local officials (a§ 1983 claim)

      B.     Section 1983 allows claims alleging the "deprivation of any rights, privileges, or immunities,
             secured by the Constitution and [federal laws]:' 42 U.S.C. § 1983. If you are suing under section
             1983, what federal constitutional or statutory right(s) do you claim is/are being violated by state or
             local otfi~ ~11ls? fLI t 1                                     j           1        .L
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       C.      Plaintiffs suing under Bivens may only recover for violation of certain constitutional rights. If you
               are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal
               officials?
                            \ y 'rh. gt~


       D.      Section 1983 allows defendants to be found liable only when they have acted "under color of any
               statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of
               Columbia:' 42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant
               acted under color of state or local law. If you are suing under Bivens, explain how each defendant
               acted under color of federal law. Attach additional pages if needed.                      \
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III.   Prisoner Status

       Indicate whether you are a prisoner or other confined person as follows (check all that apply) :

       D       Pretrial Detainee
       D       Civilly committed detainee
       D       Immigration detainee
        rsz(   Convicted and sentenced state prisoner
       D       Convicted and sentenced federal prisoner
       D       Other
               (explain)

IV.    Statement of Claim

       State as briefly as possible the facts of your case. Describe how each defendant was personally involved
       in the alleged wrongful action, along with the dates and locations of all relevant events. You may wish to
       include further details such as the names of other persons involved in the events giving rise to your
       claims. Do not cite any cases or statutes. If more than one claim is asserted, number each claim and write
       a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

       A.      If the events giving rise to your claim arose outside an institution, describe where and when they
               arose.




       B.      If the events giving rise to your claim arose in an institution, describe where and when they arose.




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      C.    What date and approximate time did the events giving rise to your claim(s) occur?


                 See
      D.    What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
            Was anyone else involved? Who else saw what happened?        d
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V.    Injuries




VI.   Relief




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VII.   Exhaustion of Administrative Remedies Administrative Procedures

       The Prison Litigation Reform Act ("PLRA"), 42 U .S.C. § 1997(a), requires that " [n]o action shall be
       brought with respect to prison conditions under section 1983 of this title, or any other Federal law, by a
       prisoner confined in any jail, prison, or other correctional facility until such administrative remedies as
       are available are exhausted."

       Administrative remedies are also known as grievance procedures. Your case may be dismissed if you have not
       exhausted your administrative remedies.

       A.    Did your claim(s) arise while you were confined in a jail, prison, or other correctional facility?


                  Yes

            D     No

            If yes, name the jail, prison, or other correctional facility where you were confined at the time of
            the events giving rise to your claim(s).
              W<fi\'tAm E: • c'Pf\f\\d SQ(\
       B.    Does th_e jail, prison, or other correctional facility where your claim(s) arose have a grievance
             procedure?

            E!1   Yes

            D     No


            D     DoNotKnow


       C.   Does the grievance procedure at the jail, prison, or other correctional facility where your claim(s) arose
            cover ·some or. all of your claims?

            D     Yes

            D     No


            !YI   Do Not Know


            If yes, which claim(s)?
             Wf v1      ,l,Je.   1,,,2fThe ~* 6aw:(\          (:)f\   ~ e~Le o~ P&fef B'l\c\, 1-~er\
             wA~t        to see ~f            -1-he      CA-p!P~V\         Cc s ~~~1~q~~                           ~~




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D.   Did you file a grievance in the jail, prison, or other correctional facility where your claim(s) arose con-
     cerning the facts relating to this complaint?


           Yes

     D    No

     If no, did you file a grievance about the events described in this complaint at any other jail, prison, or
     other c01Tectional facility?


     D     Yes

     El( No
E.   If you did file a grievance

     I.   Where did you file the grievance?




     2.   What did you claim in your grievance?




     3.   What was the result, if any?




     4.   What steps, if any, did you take to appeal that decision? Is the grievance process completed? If
          not, explain why not. (Descr;be all efforts to appeal to the highest level of the grievance
          process.)




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"

            F.   If you did not file a grievance:

                 I.       If there are any reasons why you did not file a grievance, state them here:




                 2. If you did not file a grievance but you did inform officials of your claim, state who you
                    informed, when and how, and their response, if any:




            3.   Please set forth any additional information that is relevant to the exhaustion of your administrative
                 remedies.

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                 (Note : You may attach as exhibits to this complaint any documents related to the exhaustion ofyour
                 administrative remedies.)

    Vill.   Previous Lawsuits

            The "three strikes rule" bars a prisoner from bringing a civil action or an appeal in federal court without
            paying the filing fee if that prisoner has "on three or more prior occasions, while incarcerated or detained in
            any facility, brought an actfon or appeal in a court of the United States that was dismissed on the grounds that
            it is frivolous, malicious, or fails to state a claim upon which relief may be granted, unless the prisoner is under
            imminent danger of serious physical injury." 28 U.S.C. § 191 S(g).

            To the best of your knowledge, have you had any cases dismissed based on grounds that it was frivolous ,
            malicious, or failed to state a claim upon which relief may be granted?

            ~    Yes

            D    No

            If yes, state which court dismissed your case(s), when this occurred, and attach a copy of the order(s) if
            possible .

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A.    Have you filed other lawsuits in state or federal couii dealing with the same facts involved in this
      action?

     D      Yes

     l!j"   No


B.   If your answer to A is yes, describe each lawsuit by answering questions I through 7 below. (If
      there is more than one lawsuit, describe the additional lawsuits on another page, using the same
     format.)


      I.    Parties to the previous lawsuit

            Plaintiff(s)       (\,. \({

            Defendant( s)


     2.     Court (iffederal court, name the district; if state court, name the county and State)




     3.     Docket or index number




     4.     Name of Judge assigned to your case




     5.     Approximate date of filing lawsuit




     6.     Is the case still pending?


            D     Yes

            D     No


     If no, give the approximate date of disposition.


     7.     What was the result of the case? (For example: Was the case dismissed? Was judgment
            entered in your favor? Was the case appealed?)




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IX.   Certification and Closing

      Under Federal Rule of Civil-Procedure 11 , by signing below, I certify to the best of my knowledge,
      information, and belief that this complaint: (1) is not being presented for an improper purpose, such as
      to harass, cause unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by
      existing law or by a nonfrivolous argument for extending, modifying, or reversing existing law; (3) the
      factual contentions have evidentiary suppo1i or, if specifically so identified, will likely have evidentiary
      suppoti after a reasonable opportunity for further investigation or discovery; and ( 4) the complaint
      otherwise complies with the requirements of Rule 11.

      I agree to provide the Clerk's Office with any changes to my address where case-related papers
      may be served. I understand that my failure to keep a current address on file with the Clerk's
      Office may result in the dismissal of my case.


      Printed Name of Plaintiff
      Prison Identification #
      Prison Address


                                                             City                   State            Zip Code



      I declare under penalty of pe1jury that the foregoing is true and correct.


      Executed on     o9 /% /2O'XJ
                                (Date)




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                                                  fxh~kft \ -~
      /                                     Alabama Inmate Grievance
rslJ          Health Care Grievance                         C2:'J       Health Care Grievance Appeal
Check the appropriate above box which identifies the type of grievance you are filing. Be
aware that you may not check the appeal box if you have not previously submitted a
grievance for the same issue.

                                                                                 ~-Cell-~
                                                                                UNIT




Signature


PART B - RESPONSE                                                     DATE RECEIVED_ _ _ __




Medical or MH Staff Signature - - - - - - - - - - - - - - - - DATE _ _ _ __

Copy of response given to inmate:
Inmate Signature - - - - - - - - - - - - - - - - - - - - - - D A T E _ _ _ __

If you wish to appeal a grievance response you may file a Grievance Appeal. Return the completed form to the
attention of the Health Service Administrator. You may place the form in the sick call request box or give it to the
segregation sick call nurse on rounds.

MEDICAL ADMINISTRATOR USE ONLY:

D    Medical         D   Dental         D   Mental Health   D   Other

  D       I   Quality of Medical Care                       D     VI    Problems with Medication
                                                                                                                       I
 D        II Quality of Dental Care                         D     VII Delay in Health Care Provided
                                                                                                                       I
 D        Ill Quality of Mental Health Care                 D     VIII Request to be Seen
                                                                                                                       I
 D        IV Unfair Treatment or Rights Violation           D     IX    Request for Off-Site Specialty Care
                                                                                                                       I
 D        V Conduct of Health Care Staff                    D     x     Other
                                                                                                                       I
CP7147AL Inmate Grievance                                                    Original: Medical File - Yellow: to Patient
Issued 9/2014, Revised 6/2019
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